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                   UNITED STATES DISTRICT COURT
                   EASTERN DISTRICT OF MICHIGAN
                        SOUTHERN DIVISION

METROPOLITAN LIFE
INSURANCE COMPANY,

                  Plaintiff,
                                         Case No. 21-11548
vs.
                                         HON. GEORGE CARAM STEEH
LETTIE SANDERS, FRANCINE
YANCY, CHANITA YANCY,
and KHATIMA YANCY

              Defendants.
____________________________/

          ORDER CONSTRUING CHANITA YANCY’S LETTER AS
        A MOTION TO SET ASIDE ENTRY OF DEFAULT JUDGMENT
           (ECF NO. 26), STAYING EXECUTION OF STIPULATED
      JUDGMENT (ECF NO. 25) AND SETTING STATUS CONFERENCE

       Plaintiff Metropolitan Life Insurance Company (“MetLife”) commenced

this interpleader action to determine the proper disbursement of life

insurance proceeds under a policy issued by MetLife to cover benefits

provided under an employee welfare benefit plan sponsored by General

Motors Corporation. The four defendants were listed as beneficiaries on

one of two different beneficiary forms. Defendant Chanita Yancy was listed

as a primary beneficiary in a designation form dated July 21, 2002, but she

was not listed as a beneficiary in a more recent designation dated August

14, 2020.
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      MetLife filed its interpleader complaint on July 5, 2021 and served

Chanita Yancy on July 8, 2021. (ECF No. 8). Chanita Yancy did not file an

answer, which was due by July 29, 2021. On September 2, 2021, MetLife

requested clerk’s entry of default pursuant to Fed. R. Civ. P. 55(a). (ECF

No. 11). Clerk’s entry of default as to Chanita Yancy was entered on

September 2, 2021. (ECF No. 12).

      On October 5, 2021, MetLife filed a motion for entry of default

judgment as to Chanita Yancy. Magistrate Judge Grey held a telephone

status conference with the parties on October 12, 2021. Chanita Yancy

participated in the status conference and the Court pointed out her lack of

an answer as well as the pending motion for entry of default judgment. On

October 28, 2021, having received neither an answer to the complaint nor a

response to the motion for entry of default judgment, the court granted

MetLife’s motion and entered default judgment against Chanita Yancy.

      The remaining parties entered into a stipulated settlement agreement

whereby MetLife would pay the life insurance benefits at issue (“Benefits”)

to defendant Lettie Sanders. Under the terms of the settlement, the

remaining interpleader defendants, as well as any person not joined as a

party to the action, would be permanently enjoined from pursuing a claim

as to the Benefits. On November 9, 2021, the court, having already

determined that Chanita Yancy had forfeited her right to pursue an interest
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in the Benefits, entered the stipulated judgment as a final order in the case.

      On the same date that the final judgment in the case was entered,

Chanita Yancy submitted a letter to the court asking that the default

judgment against her be set aside. The court construes the letter (ECF No.

26) to be a motion to set aside entry of default judgment. To maintain the

status quo until the court can address Chanita Yancy’s motion, execution of

the settlement agreement is stayed pending further order of the court.

      The case will be reopened, and a status conference will be set by the

court to discuss the next steps. Now, therefore,

      IT IS HEREBY ORDERED that Chanita Yancy’s letter (ECF No. 26)

is construed as a motion to set aside entry of default judgment.

      IT IS HEREBY FURTHER ORDERED that execution of the stipulated

settlement and judgment is stayed pending an order of the court.

      IT IS HEREBY FURTHER ORDERED that the above-captioned case

is reopened, and a telephonic status conference is set for November 23,

2021 at 11:00 a.m. Parties are to call (888)684-8852 and enter access

code 8146438 to participate in the telephonic status conference.

      So ordered.

Dated: November 12, 2021
                                    s/George Caram Steeh
                                    GEORGE CARAM STEEH
                                    UNITED STATES DISTRICT JUDGE

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                               CERTIFICATE OF SERVICE

                Copies of this Order were served upon attorneys of record on
                 November 12, 2021, by electronic and/or ordinary mail and
                                           also on
                                       Lettie Sanders
                                       42740 Judd Rd
                                     Belleville, MI 48111

                                      Francine Yancy
                                   13994 Abbington Ave.
                                     Detroit, MI 48227

                                      Khatima Yancy
                                      14610 Carlisle
                                     Detroit, MI 48205

                                      Chanita Yancy
                                     19634 Helen St.
                                     Detroit MI 48234.

                                     s/Brianna Sauve
                                       Deputy Clerk




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